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9                         UNITED STATES DISTRICT COURT,
10                       CENTRAL DISTRICT OF CALIFORNIA
11

12

13   AIDS HEALTHCARE FOUNDATION,                     Case No.
     a Califor:nia non-profit public-benefit
14   corporation,                                    COMPLAINT
15                      Plaintiff,                   DEMAND FOR JURY TRIAL
16         v.
17   PRIME THERAPEUTICS LLC, a
     Delaware limited-liability company,
18
                        Defendant.
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                                                                        COMPLAINT
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                                         INTRODUCTION
2          1.    ''No antitrust violation is more abominated than the agreement to fix
3    prices." Freeman v. San Diego Ass'n of Realtors, 322 F.3d 1133, 1144 (9 th Cir. 2003).
4 Hence "no showing of so-called competitive abuses                       or evils   which those
5 agreements were designed to eliminate or alleviate may be interposed as a defense.'
6    United States v. Socony-Vacuum Oil Co., 310 U.S. 150, 218 (1940). Price-fixing is a
7    per se violation of not only federal law but also California's Cartwright Act.
 8   lvfailand v. Burckle, 20 Cal.3d 367, 377; 572 P.2d 1142, 1147; 143 Cal. Rptr. I,
 9 6 (1978).    Nonetheless, Defendant Prime Therapeutics LLC ("Prime") has open!
10 engaged, with a direct business competitor, in fixing prices for prescription-dru
11   payments to pharmacies, including the multiple pha1macies of Plaintiff AIDS
12 Healthcare Foundation ("AHF"). By lowering those payments to match the rates o
13   the competitor, and to stay matched over time, Prime has seized a large sum
14 of money      for   itself -    and    has   cheated AHF         out    of    money     earned.
15 Therefore, AI-IF brings this civil action (1) to stop Prime from continuing to
16   violate "the most settled principle of antitrust law" by horizontally fixing prices
17   (John J. Miles, Health Care and Antitrust Law, § 3:2 (Apr. 2021 Update)), and (2)
18 to obtain compensation from Prime for the damages that AHF has suffered becaus
19 of this unlawful scheme.
20                                             PARTIES
21         2.      Plaintiff      AHF     1s    a      California   non-profit       public-benefit
22 corporation incorporated in 1987 and headquartered in Los Angeles, California.
23   AI-IF provides cutting-edge medical care, including pharmacy services, to peopl
24 affected by Human Immunodeficiency Virus ("HIV") or living with Acquired
25 Immune       Deficiency     Syndrome ("AIDS"), regardless of ability to pay.               AI-IF
26   provides this care to people in Los Angeles, throughout California, and across th
27   country. AHF is the largest private-sector provider of I-IN/AIDS medical care to
28   people in the United States. AHF owns and operates nine pharmacies in the County
                                                - 2-
                                                                                     COMPLAINT
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 1   of Los Angeles, California; a total of 15 pharmacies throughout California, and a total
2    of        63   phannacies      across      the      United    States,
3              3,   AHF is informed and believes and, based thereon, alleges as follows:
4 Defendant Prime is a Delaware limited-liability company formed in 1998 and
5    headquartered in Eagan, Minnesota, Prime is a phannacy benefits manager ("PBM"). 1
6    Prime is jointly owned by 19 Blue Cross and/or Blue Shield health-insurance plans, or
7    their subsidiaries or affiliates. Through relationships with those entities, as well as with
 8   employers and government programs, Prime manages pharmacy benefits for
 9 approximately 33 million people across the country, including in California, and
10   interacts with numerous phannacies, including California phannacies, (See, e.g., Prime,
11   Prime Therapeutics - Privacy Notice for Califomia Customers (Jan. 1, 2021 ), available
12   onl ine        at      https://www. primetherapeutics,com/en/privacy-policy-california-
13   residents.html (last visited May 25, 2021; print-out attached as Exhibit 1); Prime, CCPA
14   Personal Information Request Form (giving California residents notice of rights unde
15   California           pnvacy             law),          available          on line          at
16   https://www, primethera peutics,com/en/pri vacy-pol icy-cal iforni a-residents/ ccpa-
17   form.html (last visited May 25, 2021; print-out attached as Exhibit 2); Prime, Prime
18   Therapeutics Provider Manual for Pharmacy Providers (2001) at 6 ("Notice to
19   California                    Pharmacies,"                    available                    at
20   https://www.primetherapeutics.com/content/da1n/corporate/Documents/Resources/Pha
21   macists/PhannacyProviderResources/ProviderManual/document-primeprovidermanual
22   Apr2021.pdf (last visited May 25, 2021; print-out attached as Exhibit 3).)
23

24             1
              "Pharmacy benefit managers (PB Ms) are a little-known but important part of the
     process by which many Americans get their prescription drngs, Generally speaking,
25   PBMs serve as intermediaries between J)rescription-drug plans and the pharmacies that
     beneficiaries use. When a beneficiary of a prescription-drug plan goes to a phannacy to
26   fill a prescription, the pharmacy checks with a PBM to determine that person's coverage
     and copayment information. After the beneficiary leaves with his or her prescription,
27   the PBM reimburses the rihannacy for the prescription, less the amount of the
28
     beneficiary's copayment. The prescription-drug plan, in tum,1 reimburses the PBM."
     Rutledge v. Phann. Care Mgmt. Ass'n, 141 S, Ct. 474,478 (20L0) .
                                                  . 3.
                                                                                    COMPLAINT
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                              SUBJECT-MATTER JURISDICTION
2            4.    This Court has federal-question jurisdiction over this civil action's subject
3    matter, because it arises, in part, under the laws of the United States. 28 U.S.C. § 1331.
4    This Court also has federal-question jurisdiction over this civil action's subject matter,
5    because this Court is invested with jurisdiction to prevent and to restrain violations of
6    the federal Sherman Act (15 U.S.C. §§ 4, 25), and because AHF's business has been
7    injured, because of Prime, by reason of something forbidden by the federal antitrnst laws
 8   (15   u.s.c. § 15).
 9           5.    This Court also has diversity-of-citizenship jurisdiction over this civil
10   action's subject matter, because the amount of money in controversy exceeds $75,000,
11   exclusive of interest and costs, and AHF and Prime arc citizens of different U.S. states.
12   28 U .s.c. § 1332.
13           6.    This Court also has supplemental jurisdiction over that part of this civil
14   action's subject matter that arises under California law, because that part is so related to
15   the claims under federal law as to form part of the same case or controversy under Article
16   III of the U.S. Constitution. 28 U.S.C. § 1367.
17                                             VENUE
18           7.    This judicial district, the Central District of California, is the proper venue
19   for this civil action, because (a) Prime resides, is found, and conducts business within
20   this judicial district; (b) Prime is subject to personal jurisdiction within this judicial
21   district with respect to this civil action; and/or (c) a substantial part of the events or

22   omissions giving rise to the claim occurred here. 28 U.S.C. § 1391; 15 U.S.C. §§ 15, 22; cf.
23   Cal. Bus. & Prof. Code § 16750.
24           8.     Among the four judicial districts in California, this judicial district is the
25   proper venue for this civil action, because Prime's contacts with the judicial district are
26   sufficient to subject Prime to personal jurisdiction herein. 28 U.S.C. § 1391.
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                                                                                    COMPLAINT
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                                   STATEMENT OF FACTS
2          9.       On or around December 19, 2019, Prime issued a press release
3    announcing "a new three-year collaboration" with Express Scripts, Inc. ("ES!"),
4    supposedly "designed to deliver more affordable care for clients and their members by
5    enhancing pharmacy networks and pharmaceutical manufacturer value." (Prime,
6    Express Scripts and Prime Therapeutics Collaborate to Deliver More Affordable Care
7    to More 11wn /00 Million Americans (Dec. 19, 2019), available online at
 8 https://www .primetherapeutics.com/en/news/pressreleases/2019 /rcleasc-prime-
9    express-scripts-collaboration.html (last visited May 25, 2021; print-out attached as
10   Exhibit 4).)
11          I 0.    AHF is informed and believes, based on the February 25, 2021,
12   U.S. Securities and Exchange Commission l 0-K report of Cigna Corp. ("Cigna"),
13   that Cigna is a Delaware corporation with publicly traded stock; and that Cigna has
14   a subsidiary, Express      Scripts   Holding    Company,   which    includes   ES!     and
15   Express Scripts PBM ("ESPBM"), a PBM. In the I 0-K, Cigna expressly described
16   Prime as a competitor PBM of ESPBM, and Prime and ESPBM are, indeed, directly
17   competing PBMs.
18          11.     In the I 0-K, Cigna !ms ncknowleclgecl the Prime-ES! collaboration as
19   follows: "In 2019, Express Scripts and Prime Therapeutics LLC ('Prime') entered into
20   an agreement effective on April 1, 2020 which is delivering improved choice and
21   affordability for Prime's clients and their patients by enhancing retail pharmacy
22   networks and phannaceutical manufacturer value."
23          12.     The Prime-ESI collaboration concerns agreements between Prime and
24   pharmacies, by which Prime processes pharmacies' requests for reimbursements for
25   filling prescri prions of and/or providing health care to customers whose PBM is Prime.
26          13.     Prime processes numerous AHF requests for reimbursements for filling
27   prescriptions of and/or providing health care to customers whose PBM is Prime. In
28   2020, Prime processed nearly 100,000 prescription-reimbursement requests from AHF .

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                                                                                COMPLAINT
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           14.    On or around January 2, 2020, Prime sent out a mass mailing stating, in
 2   part, that "Prime's health plans will begin to transition to ESI's commercial and
 3   Medicaid pharmacy networks starting April I, 2020. [ ... ]Prime will continue to
 4   operate our claims processing platform, as well as manage and deliver a wide range of
 5   services to our clients and their members, including pharmacy network management,
 6   formulary management and clinical programs." (See print-out attached as Exhibit 5.)
 7         15.    In the United States, "the pharmacy industry utilizes two unique
 8   identifiers to identify entities responsible for administering claims in retail pharmacy
 9   transactions, the Bank Identification Number/Issue Identification Number (BIN/UN)
IO   [ also sometimes referred to as just "BIN"] and the Processor Control Number (PCN).

11   These identifiers are programmed into the pharmacy's software and identify the route
12   for processing the transaction from the pharmacy to the entity responsible for
13   administering the claim, which could be the health plan or the pharmacy benefit
14   manager. [ ... ]The BIN/IIN is a 6-digit number[ ... ] for use by retail pharmacies to
15   route prescription drug claims to the entity responsible for processing the transaction,
16   usually the pharmacy benefit manager. The PCN is an identifier ofup to 10 characters
17   that is assigned by pharmacy benefit claim processors ifthere is a need to further
18   define benefits and routing. [ ... ]The BIN/UN and PCN identifiers are included in
19   information from pharmacy benefit managers and/or health plans that are distributed to
20   pharmacies to provide details on who will be processing the transaction, where to route
21   the transaction and what rules are expected to be applied during transaction
22   processing." Administrative Simplification: Adoption ofa Standard for a Unique
23   Health Plan Identifier [Etc.}, 77 Fed. Reg. 54664, 54677-78 (Sept. 5, 2012). AHF
24   usually obtains BIN and PCN identifiers from health-insurance cards or paperwork
25   supplied by patients.
26         16.    AHF's pharmacies utilize BIN and PCN identifiers as indicated above, for
27   transaction processing. In addition, AHF's pharmacies sometimes use third-level
28   identffiers, known as "Group Numbers," associated with specific employer-provided

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                                                                                  COMPLAINT
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     health-insurance plans. Again, AHF usually obtains Group Numbers from patients'
2    health-insurance cards or paperwork.
3          17.    Prime has established codes, called "NRIDs," that are associated with
4 particular reimbursement rates to pharmacies for providing phannacy services. Prior
5 to April 2020, when pharmacies including AHF supplied BIN, PCN, and/or Group
6 Number identifiers to Prime, in the course of seeking reimbursement for services
7 provided to patients whose PBM was Prime, Prime used those identifiers to select
8    specific associated NRIDs. Prime reimbursement amounts were determined based - in
9    whole - on what the associated NRIDs were.
10         18.    Prior to April 2020, Prime's prices at which pharmacies were reimbursed
11   for various services rendered differed from, and were often higher than, ESPBM's
12   prices at which pharmacies were reimbursed for the same services rendered.
13         19.    In or around April 2020, Prime released a crosswalk table infonning
14   pharmacies submitting requests for reimbursements in approximately 15 different
15   categories- associated with commercial, exchange, and U.S. state health-insurance
16   plans - that Prime was no longer going to have its own reimbursement rates associated
17   with NRIDs. Instead, Prime was going to starting associating its NRJDs with certain
18   schedules in ESI contracts, which schedules contain ESPBM reimbursement rates.
19   Although the table is labeled "confidential," Prime has published the table online at
20   www.primetherapeutics.com, where the table is freely available to anyone who has
21   Internet access and a working web browser. (See
22   https://www.primetherapeutics.com/content/dam/corporate/Documents/Resources/Phar
23   maci sts/processingreso urc es/Reimburs em ent/ document-network-identi fi ers-ap ri I. pd f
24   (last visited May 25, 2021; print-out attached as Exhibit 6).) Prime followed through
25   on the notice and has been making pharmacies seeking reimbursements from Prime
26   take reimbursement at ESPBM's rates, not Prime's rates. In other words, Prime fixed
27   its prices to ESPBM's prices, on an ongoing basis.
28

                                                 .7.
                                                                                     COMPLAINT
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           20.     Since April 2020, in those 15 categories, for providing health care in the
2    nature of pharmacy services to patients whose PBM is Prime, AHF has been receiving
3 reimbursements from Prime that are at ESPBM's rates. AHF has receiving smaller
4    payments from Prime than AHF was receiving before, for the same services rendered.
5          21.     On or around November 13, 2020, Prime sent out another mass mailing
6    stating, in part, that "ESI's Medicare network options are now available to Prime's
7    Benefit Sponsors, and they have the choice to determine which pharmacy network(s)
 8   they will use to administer benefit plans." (See print-out attached as Exhibit 7.) The
9    choices would be implemented "starting January I, 2021 .... While ESI networks are
10   contracted and managed by ESI, Prime will remain the claims processor for our
11   Benefit Sponsors." (AHF is informed and believes that all Prime Benefit Sponsors
12   chose ESI's Medicare network options.) The mailing included two more crosswalk
13   tables. The first one indicated that approximately 80 Medicare health-insurance plans,
14   whose PBMs are Prime, would have NRIDs become associated with certain schedules
15   in ESI contracts, which schedules, again, contain ESPBM reimbursement rates. The
16   second table identified 13 categories, all associated with Medicare health-insurance
17   plans, that also would have NRIDs become associated wifu certain schedules in ES!
18   contracts. Prime followed through on the notice and has been making pharmacies
19   seeking reimbursements from Prime take reimbursement at ESPBM 's rates, not
20   Prime's rates. In oilier words, Prime further fixed its prices to ESPBM's prices, on an
21   ongoing basis.
22         22.     Since January 2021, in those many categories, for providing health care in
23   the nature of pham1acy services to patients whose PBM is Prime, AHF has been
24   receiving reimbursements from Prime that are at ESP BM 's rates. AHF has received
25   smaller payments from Prime than AHF was receiving before, for the same services
26   rendered.
27           23.      The Prime-ES! collaboration is about price-fixing, not combining
28    complementary assets or capabilities of Prime and ESL The Prime-ESI collaboration

                                                                                 COMPLAINT
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     is not facilitating the offering of any new product or service. Prime and ESI still
 2   operate as separate, competing PBMs in most respects: enrollment and member
 3   services for plan beneficiaries; drng formulary development; formulary and rebate
 4   negotiations with manufacturers of drugs; custom network options; and value-
 5   based care strategies and contracting, Indeed, in a January 7, 2020, media
 6   interview, Jarrod Henshaw, then Prime's Senior Vice President and Chief Supply
 7   Chain and Industry Relations Officer, stressed that Prime would not automatically
 8   adopt ESPBM's dmg fomrnlaries or pharmacy networks, (See Adam J. Fein,
 9   "Express Scripts+ Prime Therapeutics: Our Four Takeaways From This Market
IO   Changing Deal," Drug Channels (Jan. 7, 2020), available online at
11   https://www .drugchannels.net/2020/0 I /express-scripts-prime-them peutics-our, htm 1
12   (last visited May 25, 2021; print-out attached as Exhibit 8).)
13                                    CAUSES OF ACTION
14                                  FIRST CAUSE OF ACTION
15                         FEDERAL HORIZONTAL PRICE-FIXING
16                                    (15 U.S,C. §§ I, 15, 26)
17         24,    AHF incorporates by this reference, as if set forth fully herein, all the
18   preceding allegations in the preceding paragraphs,
19         25.    Prime and ESPBM, both PBMs, are direct business competitors, engaged
20   in interstate commerce.
21         26.    Prime and ESI knowingly and voluntarily entered into the Prime-ESI
22   collaboration.
23         27.    Before the Prime-ESI collaboration, Prime and ESPBM independently se
24   and paid different prices to phannacies for rendering the same services. The Prime-ES
25   collaboration functions to fix, to set, to lower, to raise, to maintain, and/or to stabiliz
26   the previously different prices that Prime and ESPBM set and pay to pharmacies fo1
27   rendering the same services,
28         28,    The Prime-ESI collaboration affects interstate commerce.

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                                                                                  COMPLAINT
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           29.     Horizontal price-fixing, which the Prime-ES I collaboration perpetrates, is
2    a per se unreasonable restraint of trade under the federal Sherman Act, 15 U.S.C. § I.
3           30.    The Prime-ES! collaboration, by horizontally fixing prices for pharmacy
4    services, including by lowering the amounts of the Prime reimbursements to AHF, has
 5   financially harmed AHF in its pharmacy enterprise, as well as in AHF's ability to fulfill
 6   its mission of providing cutting-edge medical care to people with HIV/AIDS, regardless
 7   of ability to pay.
 8                               SECOND CAUSE OF ACTION
 9                        CALIFORNIA HORIZONTAL PRICE-FIXING
10                (CAL. BUS, & PROF. CODE§§ 16720, 16722, 16726, 16750)
l1          31.    AHF incorporates by this reference, as if set forth fully herein, all the
l2   preceding allegations in the preceding paragraphs.
13          32.    Prime and ESPBM, both PBMs, are direct business competitors.
14          33.    Prime and ESI knowingly and voluntarily entered into the Prime-ES!
15   collaboration.
16          34.    Before the Prime-ES! collaboration, Prime and ESPBM independently set
17   and paid different prices to pharmacies for rendering the same services. The Prime-ES!
18   collaboration fhnctions to fix, to set, to lower, to raise, to maintain, and/or to stabilize
19   the previously different prices that Prime and ESPBM set and pay to pharmacies for
20   rendering the same services.
21          35.    Horizontal price-fixing, which the Prime-ES! collaboration perpetrates, is
22   a per se unreasonable restraint of trade under California's Cartwright Act, California
23   Business and Professions Code section I 6720.
24          36.    The Prime-ES! collaboration, by horizontally fixing prices for pharmacy
25   services, has financially banned AHF in its pharmacy enterprise, as well as in AHF's
26   ability to fulfill its mission of providing cutting-edge medical care to people with
27   HIV/AIDS, regardless of ability to pay.
28          37.    Prime's conduct was a substantial factor in causing AHF's harm.

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                                                                                   COMPLAINT
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                                  THIRD CAUSE OF ACTION
 2                          CALIFORNIA UNFAIR COMPETITION
 3                       (CAL. BUS. & PROF. CODE§§ 17200, 17203)
 4         38.    AHF incorporates by this reference, as if set forth fully herein, all the
 5   preceding allegations in the preceding paragraphs.
 6         39.    The Prime-ES! collaboration is a business act or practice.
 7         40.    The Prime-ES! collaboration is unlawful and/or unfair, violative of federal
 8   antitrust law and California antitrust law.
 9                                   PRAYER FOR RELIEF
IO         Wherefore, AHF prays for relief as follows:
11          1.    On the First Cause of Action for Federal Horizontal Price-Fixing:
12                a.     For three times the damages that AHF has sustained by reason of
13   Prime's violations of the federal antitrust laws;
14                b.     For costs of suit, including reasonable attorneys' fees;
15                c.     For simple interest on actual damages from the date that AHF serves
16   this Complaint on Prime;
17                d.     For an injunction against threatened or future loss or damage to AHF
18   by reason of Prime's violations of the federal antitrust laws.
19         2,     On the Second Cause of Action for California Horizontal Price-Fixing:
20                a.     For three times the damages that AHF has sustained by reason of
21   Prime's violations of California's antitrust laws;
22                b.     For costs of suit, including reasonable attorneys' fees;
23                c.     For 10 percent annual interest on actual damages from the date that
24   AHF serves this Complaint on Prime;
25                d.     For an injunction against threatened or future loss or damage to AHF
26   by reason of Prime's violations of the California antitrust laws.
27         3.     On the Third Cause of Action for California Unfair Competition:
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                                                                                    COMPLAINT
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 I                a.    For an injunction to prevent the use of the Prime-ES! collaboration,
 2   or any similar act or practice, to commit unfair competition.
 3                b.    For restitution to AHF of money that Prime acquired from AHF by
 4 means of the unfair competition.
 5         For all causes of action, for other and further relief that the Court deems just and
 6   proper.
 7                              DEMAND FOR JURY TRIAL
 8         AHF demands a trial by jury of the first and second causes of action herein.
 9

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II   DATED: June/8', 2021                   By·   ~If
                                               . cmieyers
                                                                     ~J
12                                                Jonathan M. Eisenberg
                                                  Liza M. Brereton
13                                                Courtney N. Conner
                                            Attome_ys for Plaintiff
14                                          AIDS HEALTHCARE FOUNDATION
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                                                                                 COMPLAINT
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                                  EXHIBIT 1
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   9PRIME    TH E RAPE UT IC s•


    ABOUT v           OUR BUSINESS v               RESOURCES v         NEWSROOM           CAREERS        CONTACT          MEMBER SIGN-IN



  Prime Therapeutics - Privacy Notice for California Residents
  Last updated: January 1, 2021

  Prime Therapeutics LLC ("Prime," "we," or "us") understands the importance of your privacy and takes our responsibility to protect your
  information seriously. To that end, this privacy notice (the "Notice") provides information regarding the categories of information we
  collect from California residents, how we use and share that information, and certain rights and obligations relating to that information,
  as required by the California Consumer Privacy Act of 2018 (the "CCPA"). This Notice applies to the personal information we collect from
  California residents that use our websites-primetherapeutics.com and myprime.com-including applicants for job openings with Prime.

  Please note that this Notice is a supplement to our Privacy Policy, which can be viewed here. We encourage you to review our Privacy
  Policy.

  Personal Information We Collect and How We Collect It

   As defined by the CCPA, "personal information" includes any information that identifies, relates to, describes, references, is reasonably
   capable of being associated with, or could reasonably be linl<ed, directly or indirectly, with a particular California resident or device.
  Personal Information does not include HIPAA-protected health and patient information that Prime Therapeutics may receive as a
   business associate, as that information is excluded from the requirements of the CCPA. It also does not include publicly available
   information from government records or information that has been de-identified or aggregated.

   In the past 12 months, we have collected the following categories of personal information from California residents through our websites
   and from job applicants.

   :ategory                       Examples                                                                                         Do We Collect?

   Legally protected
                                  Race, color, national origin, citizenship, marital status, sex, age (40 years or older), gender, Yes, but only for
   classification
                                  military status, medical condition, pregnancy, physical or mental disability                     uob applicants.
   characteristics

   Personal information
   categories in California's Name, social security number, physical characteristics, address, telephone number,                   Yes, but only for
   Consumer Records               education, employment, employment history, signature                                             job applicants.
   statute

                                                                                                                                   !Yes; SSNs are
                                  Name, alias, postal address, unique personal identifiers, IP address, other online identifier, only collected
   Identifiers
                                  email address, social security number,                                                         from job
                                                                                                                                   applicants

   Internet or similar            Information relating to your interaction with our website or applications, browsing history,
                                                                                                                                   Yes
   network activity               search history

                                  Purchasing or consuming histories, records of personal property, products and services
   Commercial information                                                                                                          No
                                  purchased

   Geolocation information Information regarding physical location, movement, and movement patterns                                No

                                  Physiological, biological, or behavioral characteristics, such as DNA sequence, finger prints,
   Biometric information          iris or retina scans, voice recordings, keystroke rhythm or gait, face or palm patterns, vein    No
                                  patterns, and sleep, health, or exercise data that contain identifying information

   Sensory information            Audio, electronic, visual, thermal, or similar information                                       No

   Professional or
                                                                                                                                   Yes, but only for
   employment-related             Prior employment history, performance information, resume or similar information
                                                                                                                                   'ob applicants
   information

   Non-public education           Education records directly related to a student that are maintained by an educational            !Yes, but only for
   information                    institution pursuant to the Family Educational Rights and Privacy Act,                           job applicants

                                  Inferences drawn from the categories listed above to create a profile about an individual that
   Inferences from other
                                  reflects the individual's preferences, characteristics, psychological trends, predispositions, No
   personal information
                                  behavior, attitudes, intelligence, abilities, or aptitudes


                                                                                                             EXHIBIT 1
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  We collect the information above directly from job applicants when they choose to provide it to us in connection with the application for
  a job and when if they create an online careers account with us. We collect the information above directly from website users when they
  choose to provide it to us by filling out forms on our website and registering to receive emails or information from us. We also collect
  certain categories of information from website users indirectly-including identifiers (such as IP addresses), information describing your
  internet connection, information about the equipment you use to access our website, and website usage data-when they visit, use, and
  navigate across our website. We do so by using the following technologies:

     • Cookies (or browser cookies). A cookie is a small file placed on the hard drive of your computer. You may refuse to accept browser
       cookies through your browser settings. If you select this setting you may be unable to access certain parts of our website. Unless
       you have adjusted your browser setting so that it will refuse cookies, our system will issue cookies when you direct your browser to
       our website. We may also use a similar technology, which permits us to track browsing activity across our collective websites.
     • Flash Cookies. Certain features of our website may use local stored objects (or Flash cookies) to collect and store information
       about your preferences and navigation to, from and on our website. Flash cookies are not managed by the same browser settings
       as are used for browser cookies.

   How We Use Your Personal Information

   We use the personal information that you provide us, or that we collect about you, for the following business or commercial purposes:

      • To present our website and its contents to you.
      • To consider you for current or future employment opportunities and to process your employment application.
      • To provide you with information, products or services that you request from us or that we are contracted to provide through your
        applicable health plan or employer group.
      • To fulfill any other purpose for which you provide it, such as subscribing you to an e-mail newsletter.
      • To provide you with notices about your account and status.
      • To carry out our obligations and enforce our rights arising from any contracts entered into between you and us, including for billing
        and collection.
      • To notify you about changes to our website or any products or services we offer or provide through it.
      • To notify you about any of the benefits or services you may be eligible to receive offered through us by your health plan.
      • To allow you to participate in interactive features on our website, if any.
      • To contact you regarding any of our services you have accessed, whether through our website or otherwise.
      • To comply with applicable laws, regulations, and legal process.
      • In any other way we may describe when you provide the information.
      • To keep a record of our transactions and communications.
      • As otherwise necessary or useful for us to conduct our business, provided the use is permitted by law. Specific examples include:
        Analyzing our audience and use patterns from the websites; storing information about your preferences and allowing us to direct
        or customize specific content to you; recognizing you when you return to our websites.
      • For the protection of our operations or those of any of our affiliates, or to protect our rights, privacy, safety or property, or that of
        our affiliates, you, or other parties.
      • For any other purposes with your consent.

   Disclosure and Sale of Personal Information

   Prime does not share the personal information of website users with third parties, with the exception of certain third parties that
   provide website and analytics services. Prime shares personal information relating to job applicants as set forth in this Notice or our
   Privacy Policy. Third parties with whom we may share your information include:

      • Governmental agencies, as may be required by law;
      • Consumer reporting agencies, as necessary to conduct pre-employment background screening; and
      • HRIS vendor and, for job applicants, pre-employment assessment vendors/administrators, including drug and alcohol testing
        vendors.

   During the past 12 months, Prime has disclosed the following categories of personal information relating to job applicants for a
   business purpose: identifiers, professional and employment-related information, non-public education information, legally protected
   classification characteristics, and personal information categories as identified in California's Consumer Records statute. All of these
   categories have been shared with our HRIS vendor and pre-employment assessment vendors/administrators. Only identifiers, and
   personal information categories from California's Consumer Records statutes have been shared with consumer reporting agencies. No
   information has been shared with governmental agencies.

   Prime has not sold any categories of personal information to third parties in the past 12 months and does not sell personal information
   of minors under 16 years of age.

   Please note that we may also use, disclose, or transfer your information in connection with the sale, merger, dissolution, restructuring,
   divestiture, or acquisition of our company or its assets. We may also disclose your personal information in response to a court order,
   subpoena, search warrant, law, or regulation.

   Your Rights Under the CCPA

   The CCPA provides California residents with the rights discussed below. For convenience, and as required by the CCPA, we explain how
   you can exercise those rights, to the extent they are applicable.
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      1. Right to Request Access Information. You have the right to request that we disclose certain information about our collection and
         use of your personal information during the past 12 months. Specifically, you may request that we disclose:


   o The categories of personal information we collected about you;

   o The categories of sources for the personal information we collected about you;

   o The business and commercial purposes for collecting your personal information;

   o The categories of third parties with whom we shared your personal information;

   o The specific pieces of personal information we collected about you; and

   o If we disclosed your personal information for a business purpose, the categories of personal information received by each category of
   third party.


      1. Right to Data Portability. You have the right to request that we provide copies of the specific pieces of personal information we
         collected about you. If a verifiable consumer request is made, and subject to any exceptions or limitations under the CCPA, we will
         take steps to deliver the personal information to you either by mail or electronically. If we provide the information to you
         electronically, it will be in a portable and readily useable format, to the extent technically feasible.

      2. Right to Request Deletion. You have the right to request that we delete personal information we collected from you, subject to any
         exceptions or limitations under the CCPA.

   To exercise the rights described above, you-or someone authorized to act on your behalf-must submit a verifiable consumer request to
   us by filling out and submitting a request form here. Alternatively, you may call us at 888.849.7840 or submit a request via email
   to Privacy_@rnrimetheraJleutics.com. Please be prepared to provide the information required in the request form, including your name,
   phone number, email address, physical address, and the nature of your relationship to Prime. If you are an authorized agent submitting
   a request on behalf of a consumer, we may request confirmation of your authorization, including a signed permission from the
   consumer. This information is necessary to reasonably verify that you are the individual regarding whom we collected the personal
   information or an authorized representative, and to ensure that we can understand and respond to your request. We reserve the right to
   request additional information as necessary to verify and act upon your request. You may only submit requests for access or data
   portability twice within any 12-month period. As indicated above, please be aware that the CCPA provides certain limitations and
   exception to the foregoing rights, which may result in us denying or limiting our response to your request.

   The CCPA requires us to respond to a verifiable consumer request within 45 days, but permits us to extend that period by an additional
   45 days, provided we notify you of the reason for the extension in writing. We will endeavor to acknowledge our receipt of a consumer
   request within 10 days and, if applicable, provide information regarding how we will process the request. In general, we will not charge a
   fee to respond to a verifiable request, unless it is excessive, repetitive, or unfounded.

   Our Commitment Not to Discriminate

   If a California resident exercises the rights discussed above, consistent with the CCPA, we will not discriminate against that resident by
   denying goods or services, charging different prices or rates for goods or services, providing different levels or quality of goods or
   services, or suggesting that the resident will receive a different price, rate, or quality of goods or services.

   Changes to this Notice

   Please note that we may change this Notice from time to time. We will post changes here and update the "Last Updated" date at the top
   of this document. Continued use of this website after any changes is deemed to be acceptance of those changes. Please check this
   Notice periodically for updates.

   Our Contact Information

   To contact us regarding this Notice, your rights under the CCPA, or to exercise those rights, please contact us using the information
   below.

   Prime Therapeutics LLC
   Attn: Privacy Officer
   P.O. Box 64812
   St. Paul, MN 55164-0802
   Telephone: 888.849.7840
   Email: Privacy_@JlrimetheraJleutics.com

   Submit a CCPA rights request on an electronic form.
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     Contact us                                                                 More information
     We're here to help. You can get in touch with us by using                  Thought leadershiP. I Controlled substances
     our contact form.
                                                                                Our other websites
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              ABOUT v               OUR BUSINESS v                    RESOURCES v         NEWSROOM       CAREERS       CONTACT -




                         CCPA Personal Information Request Form



                         The California Consumer Privacy Act (CCPA) gives California residents certain rights regarding their personal
                         information, which are summarized in our Privacy Notice for California Residents. If you are a California resident, or
                         are submitting this request on behalf of a California resident, you can exercise CCPA rights by using this web form to
                         submit your request to us. You can also exercise CCPA rights by calling us, toll-free, at telephone: 888.849.7840 or by
                         submitting an email containing to Privacy_@PrimeTherapeutics.com containing the information required below.

                         We will need information requested in this form so we can verify and process your request. We will acknowledge
                         receipt of this request immediately upon successful submission. The receipt will serve as the required 10-day
                         acknowledgement. We will respond to a complete and verifiable webform request within 45 days. The CCPA allows us
                         to extend that period by an additional 45 days, however, provided we notify you of the reason for the extension in
                         writing. We may contact you to request additional information in connection with your request. Please note that the
                         vast majority of personal information we process relates to current or former members of Prime, or health plans,
                         employer group, and administrative service organizations that use Prime for prescription benefit management
                         services. Such personal information is protected by the Health Insurance Portability and Accountability Act of 1996
                         (HIPAA), which falls under a CCPA exemption and will not be in scope for a personal information request.




                         What is your relationship to Prime Therapeutics?


                             0 I am a current/former member of the prescription
                             benefits management program
                             0 I am a website user

                             0 I am a current/former employee/contractor or job
                             applicant
                             0 Other. Please explain:




                                   Submit                Cancel




                  Contact us                                                                      More information
                  We're here to help. You can get in touch with us by using                       Thought leadershiR I Controlled substances
                  our contact form.
                                                                                                  Our other websites
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                                                                                                                        EXHIBIT 2
 https://www.primetherapeutics.com/en/privacy-policy-califomla-residents/ccpa-fom1.html                                                            1/2
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 https://www.primetherapeutics.comfen/privacy-policy-califomia-residents/ccpa-fom1.html                                            212
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                                  EXHIBIT 3
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                                                       PRIME THERAPEUTICS

                                                      PROVIDER
                                                         MANUAL
                                                 FOR PHARMACY PROVIDERS


                                               EXHIBIT 3
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   SECTION ?· COMPl IANCE (CQNJlt-lllED)

     > Phishing to identify a drug that is covered (e.g., a     • TrOOP manipulation - Manipulation of true out-of­
       Pharmacy submits a claim for one drug, receives a          pocket (TrOOP) costs by the Pharmacy, including to
       reject or reverses the claim, and resubmits for a new      either push a Covered Person through the coverage gap
       drug within a short period of time)                        so the Covered Person can reach catastrophic coverage
      > Prescription splitting to bypass Point of Sale (POS)      before being eligible, or to keep a Covered Person
        messaging requiring a PA                                  in the coverage gap so that catastrophic coverage is
                                                                  never realized.
      > Billing a greater vial size than what is necessary to
        supply the ordered dose                                 • Failure to offer negotiated prices - The Pharmacy's
                                                                  failure to offer a Covered Person the negotiated price
      > Waiving Copays - The Pharmacy does not collect
                                                                  of a drug available to the Covered Person through the
        the copay due from the Covered Person, when
                                                                  Benefit Plan.
        required by the Agreement
                                                                • Inappropriate application of therapeutic Interchange
      > Misrepresenting or falsifying information to obtain a
                                                                  protocols - The Pharmacy dispensing a different
        paid claim
                                                                  covered medication than the prescribed medication
   • Prescription drug shorting- The Pharmacy provides            without obtaining and documenting the Prescribing
     less than the prescribed quantity and intentionally          Provider's consent prior to dispensing or without
     does not inform the Covered Person or make                   informing the Covered Person of the substitution.
     arrangements to provide the balance, but bills for the
     full amount ordered on the prescription.                   NOTICE TO CALIFORNIA
   • Bait and switch pricing- The Pharmacy leads a              PHARMACIES
     Covered Person to believe that a drug will cost one
     price, but at POS, the Covered Person is charged a         This serves as notice to Pharmacies in California about
     higher amount.                                             rights under California Health & Safety Code.
   • Prescription forging or altering - Existing                Pharmacy Reporting
     prescriptions are altered without the Prescribing          Pharmacies may report to the department through the
     Provider's permission to increase the quantity or          toll-free Pharmacy line, email address or other method
     number of refills.                                         designated by the California Department of Managed
   • Dispensing expired or adulterated prescription             Health Care, instances in which the Pharmacy believes a
     drugs - The Pharmacy dispenses drugs that are              Benefit Sponsor is engaging in an unfair payment pattern.
     expired or have not been stored or handled according       (Cal. Health & Safety Code §1371.39)
     to the manufacturer or FDA requirements.
                                                                Pharmacy Bill of Rights
   • Prescription refill errors - The Pharmacy provides a
                                                                Pharmacy has certain rights as a Pharmacy under Cal.
     higher number of refills than what was prescribed.
                                                                Health & Safety Code §1371.39.
   • Illegal remuneration schemes (kickbacks) - The
     Pharmacy is offered, solicits, or receives unlawful
     payment that results in an incentive or reward for
     switching Covered Persons to different drugs,
     influencing Prescribing Providers to prescribe
     different drugs or steering Covered Persons to plans.




   Provider Manual                                                                                                         6
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                                  EXHIBIT 4
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    ABOUT V        OUR BUSINESS v           RESOURCES v           NEWSROOM           CAREERS        CONTACT          MEMBER SIGN-IN




                                                 Press releases
   < Prime's Newsroom       December 19, 2019

                            Express Scripts and Prime Therapeutics Collaborate to Deliver More Affordable
                            Care to More Than 100 Million Americans
                            Collaboration leverages scale and capabilities to drive greater value.


                            ST. LOUIS, Mo. and EAGAN, Minn., - Leading pharmacy services providers .Eimress ScriP.tS and Prime
                            Therapeutics LLC (Prime) today announced a new three-year collaboration designed to deliver more affordable
                            care for clients and their members by enhancing pharmacy networks and pharmaceutical manufacturer value.

                            Prime, collectively owned by 18 Blue Cross and Blue Shield Plans, subsidiaries or affiliates, provides total drug
                            management solutions for more than 28 million people covered by 23 health plans, plus employers and
                            government programs including Medicare and Medicaid. Prime will continue to supply full-service pharmacy
                            benefit management offerings for its clients and customers.

                            Express Scripts serves more than 3,000 clients and 75 million customer relationships. Under this collaboration,
                            Express Scripts will provide services to Prime related to retail pharmacy network and pharmaceutical
                            manufacturer contracts. Both companies will continue to work independently with pharmaceutical
                            manufacturers-Express Scripts handling negotiations for drugs on the pharmacy benefit, and each company
                            separately managing certain relationships on the medical benefit and value-based contracting. Other
                            relationships with members, caregivers and key stakeholders will also remain independent as they work to
                            deliver better affordability and improved pharmacy care.

                            "As health care costs continue to grow at an unsustainable pace, improving the value we deliver in health care
                            is critical. This collaboration will improve outcomes while still maintaining flexibility and transparency to the
                            clients we proudly serve," said l(en Paulus, president and CEO, Prime.

                            "Our agreement reinforces our position as a health services partner of choice for health plans, employers,
                            government and other payers seeking the most value for their investments in health care," said Tim Wentworth,
                            president, Express Scripts. "This collaboration allows both Prime and Express Scripts to leverage our
                            capabilities to deliver more affordable health care."

                            Express Scripts expects this relationship will have an immaterial impact to adjusted income from operations• in
                            2020 with a more positive contribution beginning in 2021.


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                            About Prime Therapeutics
                            Prime Therapeutics LLC (Prime) makes healthcare work better by helping people get the medicine they need to
                            feel better and live well. Prime provides total drug management solutions for health plans, employers, and
                            government programs including Medicare and Medicaid. The company processes claims and offers clinical
                            services for people with complex medical conditions. Prime serves more than 28 million people. It is
                            collectively owned by 18 Blue Cross and Blue Shield Plans, subsidiaries or affiliates of those plans.

                            Follow @Prime PBM on Twitter.

                            About Express Scripts

                            Express Scripts is a health care opportunity company. Empowered by our legacy as an industry innovator, we
                            dare to imagine - and deliver - a better health care system with greater choice, predictability, affordability
                            and improved outcomes. From pharmacy and medical benefits management, to specialty pharmacy care and


                                                                                                        EXHIBIT 4
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                  everything in between, we uncover opportunities to make health care better.

                  We stand alongside our clients and partners, collaborating to develop personalized solutions that make a
                  meaningful difference in the lives of those we serve, whenever and wherever it's needed. We believe health care
                  can do more. We are Champions For Better <5MI, Express Scripts, a Cigna company, unlocks new value in
                  pharmacy, medical and beyond to further total health for all.

                  .s..[gn-uri for regular news announcements from Prime Therarieutics.

                  Contact

                  l<aren Lyons
                  Director of Public Relations
                  Prime Therapeutics
                  612.777.5742
                  karen. Iyons@ririmetherarieu tics. com

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                  Director, Media Relations
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                  908-794-9226
                  jennifer luddy_@exriress-scriP.ts.com

                  Will McDowell
                  Vice President - Investor Relations
                  Cigna
                  215-761-4198
                  William,mcdowell2@cign_a,_(_Qffi

                  Notes:
                  1. Adjusted income (loss) from operations is defined as shareholders' net income (loss) excluding the following
                  adjustments: earnings contributions from transitioning pharmacy benefit management clients, Anthem Inc. and
                  Coventry Health Care, Inc., net realized investment results, amortization of acquired intangible assets, and
                  special items. Adjusted income (loss) from operations is measured on an after-tax basis for consolidated results
                  and on a pre-tax basis for segment results. Adjusted income (loss) from operations is a measure of profitability
                  used by management because it presents the underlying results of operations of businesses and permits
                  analysis of trends in underlying revenue, expenses and shareholders' net income. This consolidated measure is
                  not determined in accordance with GAAP and should not be viewed as a substitute for the most directly
                  comparable GAAP measure, shareholders' net income.

                  Cigna Corporation Cautionary Note Regarding Forward-Looking Statements

                  This press release, and oral statements made in connection with this release, may contain forward-looking
                  statements within the meaning of the Private Securities Litigation Reform Act of 1995. Forward-looking
                  statements are based on our current expectations and projections about future trends, events and
                  uncertainties. These statements are not historical facts. Forward-looking statements may include, among
                  others, statements concerning our projected adjusted income (loss) from operations outlook on a consolidated,
                  per share, and segment basis; projected growth; projected adjusted pharmacy scripts; future financial or
                  operating performance; future growth, business strategy, strategic or operational initiatives; and other
                  statements regarding our future beliefs, expectations, plans, intentions, financial condition or performance.
                  You may identify forward-looking statements by the use of words such as "believe," "expect," "plan," "intend,"
                  "anticipate," "estimate," "predict," "potential," "may," "should," "will" or other words or expressions of
                  similar meaning, although not all forward-looking statements contain such terms.

                  Forward-looking statements are subject to risks and uncertainties, both known and unknown, that could cause
                  actual results to differ materially from those expressed or implied in forward-looking statements. Such risks
                  and uncertainties are discussed in our most recent report on Form 10-1< and subsequent reports on Forms 10-Q
                  and 8-K available on the Investor Relations section of www.cigna.com. You should not place undue reliance on
                  forward-looking statements, which speak only as of the date they are made, are not guarantees of future
                  performance or results, and are subject to risks, uncertainties and assumptions that are difficult to predict or
                  quantify. We undertake no obligation to update or revise any forward-looking statement, whether as a result of
                  new information, future events or otherwise, except as may be required by law.




     Contact us                                                    More information
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     We're here to help. You can get in touch with us by using                Thought leadershiP. I Controlled substances
     our contact form.
                                                                              Our other websites
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January 2, 2020                                                                             9Pl=tlME
                                                                                                     TH E R Ar EU TI CS'




                                      Prime Therapeutics and Express Scripts Collaboration


    Dear Valued Provider,

   Prime Therapeutics LLC (Prime) continues our commitment to affordability and dedication to improved pharmacy
   care for our clients and their members. As part of our commitment, Prime has entered into a three-year, supply
   chain agreement with Express Scripts (ESI) to focus on enhancing pharmacy networks and pharmaceutical
   manufacturer value.

    As part of this new collaboration, Prime's health plans will begin to transition to ES l's commercial and Medicaid
    pharmacy networks starting April 1, 2020. As part of the transition, there will be no changes to claims processing
    requirements, including BIN/PCNs.

  Prime will continue to operate our claims processing platform, as well as manage and deliver a wide range of
  services to our clients and their members, including pharmacy network management, formulary management and
  clinical programs.

  As a company, Prime is committed to evolving from a pharmacy benefit management company to a total drug
  management company that will allow our clients to propel in regional competitiveness. Our vision is to make
  health care work better by helping people get the medicine they need to feel better and live well. This step
  demonstrates our commitment to transforming our business into one that's focused on improving care, increasing
  value and leveraging pharmacy as a tool to deliver better health outcomes.

  If you have any questions about this communication, please reach out to Prime at
  PrimeContracting@primetherapeutics.com

  If pharmacies have specific questions regarding their terms and conditions, including reimbursement with ESI,
  please have them contact their account team or RecontractingMailbox@express-scripts.com



  Sincerely,
  Prime Therapeutics LLC
  Pharmacy Network Management




                                                                          EXHIBIT 5




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                                  EXHIBIT 6
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        BAO    Access One Commercial                                                                   B-AO
      BAOESN   Access One Commercial ESN                                                               B-AO
       BLESN   Broad Limited ESN                                                                      B-L ESN
         B38   Cambia Commercial                                                                        B-38
      B38ESN   Cambia Commercial ESN                                                                B-38 ESN
        B12A   Commercial ESN                                                                          B-12A
        B12B   Commercial ESN (opt in)                                                                 B-12B
        B12N   Commercial Narrow Retail                                                                B-12N
     B12NESN Commercial Narrow ESN                                                                     B-12N
         Bll   Commercial Preferred Elite                                                               B-11
        B12L   Commercial Limited ESN                                                                  B-12L
        B12P   Commercial Preferred ESN                                                                B-12P
         B16   Commercial Vaccine                                                                       B-16
         DTE   Direct to Employer                                                                       DTE
         BFL   FL Commercial                                                                            B-FL
      BFLESN   FL Commercial ESN                                                                     B-FLESN
         BEC   FL Exclusive Commercial                                                                  B-EC
      BECESN   FL Exclusive Commercial ESN                                                              B-EC
        BFLM   FL Medicare                                                                             B-FLM
     BFLMESN FL Medicare ESN                                                                       B-FLM ESN
      GPSPEC   GP Specialty Fee Schedule                                                              GPSPEC
        BHIV   HIV                                                                                     B-HIV
      BILHMO   IL HMO                                                                               B-IL HMO
     ILHM090 IL HMO 90                                                                            B-IL HMO 90
     BTX1H05 Legacy TX HMO                                                                          B-TX1H05
          BL   Limited                                                                                   B-L
         LOO   Limited Distribution                                                                     LDD
         BMC   Medicare Choice Retail                                                                  B-MC
      BMCESN   Medicare Choice ESN                                                                     B-MC
        BlOHI  Medicare Home Infusion                                                                   B-10
         B7B   Medicare Hospital Pharmacy                                                               B-7B
        B9LTC  Medicare Long Term Care                                                                   B-9
         BMP   Medicare Preferred (any year) Retail                                                     B-MP
      BMPESN   Medicare Preferred (any year) ESN                                                        B-MP
         BlA   Medicare Retail                                                                          B-1A
         B1B   Medicare Retail ESN                                                                      B-1B
         BMS   Medicare Silver Retail                                                                   B-MS
      BMSESN   Medicare Silver ESN                                                                      B-MS
         B25   Mississippi Instate Commercial                                                           B-25
       B25ESN  Mississippi Instate Commercial ESN                                                       B-25
    BNCCHOICE NC Choice Instate Commercial Retail                                                 B-NC CHOICE
    BNCCHOICEE NC Choice Instate Commercial ESN                                                   B-NC CHOICE
       B12NC   NC Instate Commercial ESN                                                              B-12NC

Prime Therapeutics LLC
Confidential                                                                                EXHIBIT 6                    April 2020
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     B34    NC Instate Commercial                                                 B-34
 BNJCHOICE NJ Choice Commercial Retail                                   B-NJ CHOICE
 BNJCHOICEE NJ Choice Commercial ESN                                     B-NJ CHOICE
     BNJ    NJ Instate Commercial Retail                                          B-NJ
   BNJESN   NJ Instate Commercial ESN                                             B-NJ
    BNJM    NJ Instate Med D Retail                                            B-NJM
  BNJMESN NJ Instate Med D ESN                                                  B-NJM
     BNJF   NJ Fertility                                                         B-NJF
     B32    Oncology for NE                                                       B-32
     B41    RI Commercial                                                         B-41
   B41ESN   RI Commercial ESN                                                B-41 ESN
   B41RIM   RI Medicare Retail                                                B-41RIM
 B41RIMESN RI Medicare ESN                                                    B-41RIM
     B2D    Select Commercial                                                     B-2D
    BSPEC   Specialty Agreement & Fee Schedule                                 B-SPEC
     B30    Specialty Hemophilia/Bleeding Disorders                               B-30
    BHIVQ   HIV QUALITY                                                        B-HIVQ
    CLIENT  Client Owned Contracts                                               B-WY
  BNMCAID New Mexico Medicaid                                              B-NMCAID
   BPACHIP  CBC Chip Network                                                 B-PACHIP



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  BIDBRODCBR                     Broad                                                                           Schedule C
  BIDBRODCBE                     Broad ESN                                                                          EDS1
  BIDBRDPCCR                     Broad Plus                                                                      Schedule A
  BIDBRDPCCE                     Broad Plus ESN                                                                     EDS1
  BIDBRDSCSR                     Broad Select                                                                    Schedule B
  BIDBRDSCSE                     Broad Select ESN                                                                   EDS1
  BIDLMTDCLR                     Limited                                                                         Schedule D
  BIDLMTDCLE                     Limited ESN                                                                        EDS2
  BIDPREFCPR                     Preferred                                                                    Schedule EN15/20
  BIDPREFCPE                     Preferred ESN                                                                      EDS2

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  BIDBRODSBR                     Broad                                                                           Schedule C
  BIDBRDPSCR                     Broad Plus                                                                      Schedule A
  BIDLMTDSLR                     Limited                                                                         Schedule D
  BIDPREFSPR                     Preferred                                                                    Schedule ENlS/20
  BIDBRDSSSR                     Broad Select                                                                    Schedule B



 Prime Therapeutics LLC
 Confidential                                                                                                                           April 2020
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                                  EXHIBIT 7
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    November 13, 2020



    AHF Pharmacy Contracting
    AIDS HEALTHCARE FOUNDATION
    6255 W Sunset Blvd,
    Floor 21
    Los Angeles, CA 90028

           RE: Medicare Network Changes effective January 1, 2021

    Dear AHF Pharmacy:

    Prime Therapeutics LLC (Prime) continues our commitment to affordability and dedication to improved
    pharmacy care for our clients and their members. As part of our commitment, Prime entered into a three-year
    network agreement with Express Scripts, Inc. (ESI) that gives Prime additional resources to focus on enhancing
    pharmacy network performance, including additional network options to our Benefit Sponsors.

    ESl's Medicare network options are now available to Prime's Benefit Sponsors, and they have the choice to
    determine which pharmacy network(s) they will use to administer benefit plans. This letter serves as notice of
    Prime's Benefit Sponsors' network elections for Medicare networks starting January 1, 2021.

    The following attachments are incorporated in this letter as notice to you of Benefit Sponsor elections:

    1)   Attachment A: Benefit Sponsor Elections. This will provide your pharmacy with current network
         participation and Benefit Sponsor elections.
    2)   Attachment B: Network Reimbursement ID (NRID). This will provide your pharmacy with the NRIDs
         pharmacy will see associated with Benefit Sponsor elections after January 1, 2021.

    While ESI networks are contracted and managed by ESI, Prime will remain the claims processor for our Benefit
    Sponsors.

    As part of claims processing, Prime provides a network identifier at the point of sale in the Reimbursement ID
    field (NCPDP field 545-2F). This Network Reimbursement ID (NRID) can be used to link the new ESI networks
    back to the information contained in Attachments A and B. NRIDs are also available on Prime's website at:
    https://www.primetherapeutics.com/en/resources If your pharmacy currently does not receive information in
    the Reimbursement ID field (NCPDP field 545-2F), please work with your claims software vendor to access this
    information.

    Questions about this communication can be directed to Prime at: PharmacyOps@primetherapeutics.com

    Specific questions regarding ESl's networks, contracts, including terms and conditions of participation, and
    reimbursement should be directed to ESl's network contracting team at: RecontractingMailbox@express­
    scripts.com

    Sincerely,
    Prime Therapeutics LLC
    Pharmacy Network Management




                                                      2900 Ames Crossing Road, Eagan, MN 55121 IT: 612.777.4000 I 800.8 58.0723


                                                           EXHIBIT 7                             4131-Al MN P1ime Therapeutics LLC 02/19 06008739
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   Attachment A: Current network participation and Benefit Sponsor Network Election

       Current Network                 Benefit Sponsor Utilization                      Benefit Sponsor
           Election                            (Medicare)                             Network Election on
                                                                                       or after 1/1/2021

         Exhibit B-1A             Arkansas Blue Cross and Blue Shield                   Schedule MEDD
                                      Regence BlueShield of Idaho
                                Regence BlueCross BlueShield of Oregon
                                 Regence BlueCross BlueShield of Utah
                                        Regence BlueShield (WA)
                                            Capital Blue Cross
                                         Capital Health Plan, Inc.
                         Blue Cross and Blue Shield of Florida, Inc. (Florida Blue)
                                  Blue Cross and Blue Shield of lllinios
                                 Blue Cross and Blue Shield of Montana
                               Blue Cross and Blue Shield of New Mexico
                                Blue Cross and Blue Shield of Oklahoma
                                   Blue Cross and Blue Shield ofTexas
                                         BCBSM, Inc. (BCBSMN)
                               Horizon Healthcare Services, Inc. (BCBSNJ)
                                Blue Cross & Blue Shield of Rhode Island
                                          Vibra Healthcare, LLC
         Exhibit B-1B             Arkansas Blue Cross and Blue Shield                          Schedule
                                      Regence BlueShield of Idaho                             MEDD/EDS1
                                Regence BlueCross BlueShield of Oregon
                                 Regence BlueCross BlueShield of Utah
                                        Regence BlueShield (WA)
                                            Capital Blue Cross
                                         Capital Health Plan, Inc.
                         Blue Cross and Blue Shield of Florida, Inc. (Florida Blue)
                                  Blue Cross and Blue Shield of lllinios
                                 Blue Cross and Blue Shield of Montana
                               Blue Cross and Blue Shield of New Mexico
                                Blue Cross and Blue Shield of Oklahoma
                                   Blue Cross and Blue Shield ofTexas
                                         BCBSM, Inc. (BCBSMN)
                               Horizon Healthcare Services, Inc. (BCBSNJ)
                                Blue Cross & Blue Shield of Rhode Island
                                          Vibra Healthcare, LLC
        Exhibit B-FLM                    Capital Health Plan, Inc.                      Schedule MEDD
                         Blue Cross and Blue Shield of Florida, Inc. (Florida Blue)
        Exhibit B-FLM                    Capital Health Plan, Inc.                         Schedule
             ESN         Blue Cross and Blue Shield of Florida, Inc. (Florida Blue)      MEDD/EDS1
         Exhibit B-MC            Blue Cross and Blue Shield of Alabama                  Medicare Part D
                                  Arkansas Blue Cross and Blue Shield                    Performance
                                      Experience Health (BCBSNC)                           Network
                         Blue Cross and Blue Shield of Florida, Inc. (Florida Blue)

                                                 2900 Ames Crossing Road, Eagan, MN 55121   IT: 612.777.4000 I 800.858.0723

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                              Blue Cross and Blue Shield of Oklahoma
                                        BCBSM, Inc. (BCBSMN)
                            Horizon Healthcare Services, Inc. (BCBSNJ)
       Exhibit B-MS            Blue Cross and Blue Shield of Alabama                   Schedule MEDO
                                   Alignment Healthcare USA, LLC                         (Amended)
                                    Regence BlueShield of Idaho
                              Regence BlueCross BlueShield of Oregon
                               Regence BlueCross BlueShield of Utah
                                       Regence BlueShield (WA)
                                          Capital Blue Cross
                                        Capital Health Plan, Inc.
                      Blue Cross and Blue Shield of Florida, Inc. (Florida Blue)
                             Blue Cross and Blue Shield of Kansas Inc.
                            Blue Cross and Blue Shield of Nebraska, Inc.
                                Blue Cross and Blue Shield of lllinios
                             Blue Cross and Blue Shield of New Mexico
                              Blue Cross and Blue Shield of Oklahoma
                                 Blue Cross and Blue Shield of Texas
                                        BCBSM, Inc. (BCBSMN)
                           Blue Cross and Blue Shield of North Carolina




                                              2900 Aines Crossing Road, Eagan, MN 55121 IT: 612.777.4000 I 800 .858.0723


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   Attachment B: Network Reimbursement ID (NRID):

     Medicare NRIDs:


         Prime Processing NRID*              Network Name                          Day Supply

              BIDOPENMOR                    Schedule MEDD                            RETAIL
              BIDOPENMOE                 Schedule MEDD/EDS1                           ESN
               BIDSILVMSR             Schedule MEDD (Amended)                        RETAIL
               BIDSILVMSE             Schedule MEDD (Amended)                         ESN
                                      Medicare Part D Performance
               BIDLIMTMLR                                                            RETAIL
                                               Network
                                      Medicare Part D Performance
               BIDLIMTMLE                                                              ESN
                                               Network
                                       Medicare Part D Preferred
               BIDPREFMPR                                                            RETAIL
                                         Performance Network
                                       Medicare Part D Preferred
               BIDPREFMPE                                                              ESN
                                         Performance Network
                                       Medicare Part D Preferred
               BIDPREFMDR                                                            RETAIL
                                         Performance Network
                                       Medicare Part D Preferred
               BIDPREFMDE                                                              ESN
                                         Performance Network
                                        Medicare Part D Premier
               BIDPREFMER               Preferred Performance                        RETAIL
                                               Network
                                        Medicare Part D Premier
               BIDPREFMEE               Preferred Performance                          ESN
                                               Network
               BIDLTCMTR               Medicare Long Term Care                       RETAIL

      * The ESI Network NRIDs are current as of the date of this letter and are subject to change. Please
      visit Prime's website for updated NRIDs: www.primetherapeutics.com




                                                  2900 Ames Crossing Road, Eagan, MN 55121 IT: 612.777.4000 I 800.858.0723


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                                  EXHIBIT 8
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 Express Scripts + Prime Therapeutics: Our Four
 Takeaways From This Market Changing Deal
 � drugchannels.net/2020/01 /express-scri pts-prime-therapeutics-our. htm I




 Just before the holidays, Cigna's Express Scripts business announced a market-changing
 deal with Prime Therapeutics. Click here to read the wess release.

 There's been very little written about this transaction, though it has potentially major
 implications. Below, I share my thoughts on the following topics arising from the deal:

        Implications for manufacturers and pharmacies

       The role of the secretive Ascent Health Services

        What this all means for Walgreens

        Why the Federal Trade Commission won't challenge the deal

 A few weeks ago, I exRlained why integrated insurer/ PBM / SRecialty_Rharmacy...L.Rrovider
 organizations are ROised to restructure U.S. drug channels. The Express Scripts/ Prime deal
 signals that the channel will continue its amazing pace of reinvention.

 The scale, scope, and interconnectedness of today's market participants make the system
 increasingly resistant to massive disruption from either external players like Amazon or a
 government takeover. Like it or not, the channel will continue to gain power and extract profit.
 Read on and see if you agree.

 DEAL DETAILS

                                                                              EXHIBIT 8

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For additional background for today's post, I spoke with Tim Wentworth, CEO of Express
Scripts, and Jarrod Henshaw, Prime's Senior Vice President, Chief Supply Chain and
Industry Relations Officer. The opinions and interpretations below, however, are my own.

 Here's a brief summary of the new relationship between Express Scripts and Prime
 Therapeutics.

    • Express Scripts will handle:
         o Rebate negotiations with manufacturers of drugs covered under the pharmacy
           benefit
         o Retail pharmacy network contracting for the majority of Prime's business

    • Each company will independently manage:
         o Enrollment and member services for beneficiaries of their respective plans
         o Formulary development
         o Formulary and rebate negotiations with manufacturers of drugs covered under
           the medical benefit
         o Custom network options
         o Value based care strategies and contracting

 The r2ress release carefully refers to the deal as a collaboration rather than as an alliance,
 acquisition, or merger. The release further states that "Express Scripts will provide services
 to Prime" and that "both companies will continue to work independently with pharmacel,ltical
 manufacturers." That wording highlights the theoretically temporary nature of the
 relationship.

 This structure means that Prime's customers will not automatically default to the Express
 Scripts' formularies and pharmacy networks. Executives from both companies stressed to
 me that Express Scripts will customize its services to Prime's individual plan clients.

 IMPLICATIONS

 Here are four observations and takeaways from this new arrangement:

 1. Manufacturers and pharmacies will face the biggest PBM ever.

 By adding the Prime volume, Express Scripts will be leading rebate negotiations and
 pharmacy network development for 103 million people. This combined volume of Express
 Scripts and Prime will have enormous leverage with manufacturers and pharmacies.

 The chart below shows national market shares for the largest PBMs in 2018. As you can
 see, about three-quarters of all equivalent prescription claims were processed by three
 companies: CVS Health (including Caremark and Aetna), Express Scripts, and the OptumRx




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business of UnitedHealth. FYI, these data appear in Section 5.2. of our 2019 Economic
Re{)_ort on U.S. Pharmacies and PharmacY.. Benefit Managers. Our updated data and market
analyses will appear in the forthcoming 2020 edition, which will be available on March 10.

 [Click to Enlarge]

                              PBM Market Share, by Total Equivalent Prescription Claims Managed, 2018




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                  CVS Health (Caremark)/ Aetna•
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                                                                                                                                                                                                                         30-%


                                                  Express Scripts' 1                                                                                                                        23¾


                            OptumRx (UnitedHealth)'

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                                         Prime Therapeutics                                                     69'
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                          All Other PBMs + Cash Pay' � q%

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 This concentration helps plan sponsors and payers, who can maximize their negotiating
 leverage by combining their prescription volumes within a small number of PBMs. However,
 the ever-growing concentration of buying power will remain controversial-especially for the
 drugmakers and pharmacies that will be on the receiving end of Express Scripts' new scale.

 Consider that five of the largest pharmaceutical manufacturers-Eli Lilly, Janssen, Merck,
 Novartis, and Sanofi-already discount their drugs' list prices by about 50%. (See Half-Off
 Sale! Five Major Drugmakers Reveal Vast Gross-to-Net Price GaRs-and Why Rebate
 Reform Is Still Needed.) I've also highlighted the profit pressures facing retail pharmacies in
 multiple articles and reports, such as The State of Retail Pharmacy: lndeRendent Pharmacy
 Economics Stabilize-But DroRRing, Owner Salaries Are.


 2. The Ascent Health Services GPO plays a crucial role in this collaboration-and
 possibly limits plan sponsor transparency into the deal's underlying economics.

 Here's one important angle that was not mentioned in the press release: Prime will source
 formulary rebates via Ascent Health Services, the secretive Switzerland-based group
 purchasing organization (GPO) that Exwess ScriRtS launched in 2019.

 There are at least two apparent motivations for this move:


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      Tax efficiency due to transfer pricing and rebate accounting using Switzerland's lower
      corporate tax rate

      Express Scripts (as Ascent) will be able to collect GPO admin fees

 The second motive also implies a possible hedge against reform of PBM pricing practices.

 Multiple regulatory and legislative proposals would prohibit manufacturers from paying PBMs
 administrative service fees ("admin fees") that are based on a percentage of sales or drug list
 prices.

 However, there is no parallel effort to alter GPO safe harbor rules. Today, GPOs are
 compensated via manufacturer-paid administrative fees that are typically computed as a
 percentage of the purchase price that the healthcare provider pays for a product bought
 through a GPO contract. A GPO works on behalf of its members. By aggregating the
 purchasing volume of its members, a GPO lowers its members' cost of goods and reduces
 in-house contracting functions.

 It seems as if Ascent is acting as a rebate aggregator for the combined formulary volume of
 Express Scripts and Prime Therapeutics. The members of the Ascent GPO can then
 structure their own contracts and arrangements with their respective plan sponsor clients.

 Executives at both Express Scripts and Prime emphasized to me that Ascent provides
 significant transparency to its PBM members. However, I'm still not clear on how much
 transparency the plan sponsor clients of each PBM have into Ascent's operations. Inserting
 another intermediary in the drug channel always adds transparency, right?


 3. This transaction poses fresh challenges for Walgreens Boots Alliance.

 The deal heightens the headwinds facing Walgreens Boots Alliance's (WBA) U.S. pharmacy
 business.

 In 2017, WBA and Prime Therapeutics completed the formation of AllianceRx Walgreens
 Prime. It is the exclusive mail and specialty pharmacy for Prime Therapeutics' PBM
 beneficiaries, and is also able to contract with (and dispense for) other PBMs and plans.
 Legally, the business is a subsidiary of WBA, so its financials are included within WBA's
 broader financial reporting. WBA does not report separate revenues for the business, so the
 revenue figure in our list of the largest 15 SP-ecialty_P-harmacies reflects Drug Channels
 institute estimates.

 It's not clear that the Prime deal has ever lived up to its promise for Walgreens. Prime
 Therapeutics has grown more slowly than its larger peers, which has meant less incremental
 growth for Walgreens. In addition, I perceive that Prime's Blue Cross and Blue Shield clients



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 have been less aggressive in using limited and exclusive pharmacy networks for specialty
 drugs.

 Consequently, AllianceRx Walgreens Prime didn't get the same boost that other PBM-owned
 specialty pharmacies have received. And for its non-Prime business, AllianceRx Walgreens
 Prime ended up in a position similar to that of other independent specialty pharmacies. The
 super-profitable 340B contract pharmacy business has essentially saved Walgreens
 pharmacy. See Here's How PBMs and Si:2ecialtY. Pharmacies Snag Sui:2er-Size Profits from
 the 340B Program .

 Walgreens is also the core participant in Prime's national preferred pharmacy network. This
 arrangement includes all types of retail prescriptions-generic, brand-name, 30-day, 90-day,
 etc. Will it now face lower retail profits once Express Scripts starts managing pharmacy
 network reimbursement for Prime?

 Prime's Jarrod Henshaw offered me only a "no comment" when I asked about the future of
 AllianceRx Walgreens Prime.

 Another question to ponder: Will Prime buy generics with Express Scripts?

 Express Scripts has partnered with Walgreens Boots Alliance Development (WBAD) to
 purchase generic drugs. Express is participating via its Innovative Product Alignment (IPA)
 subsidiary. Prime acquires generics though its WBA pharmacy relationship. (See Section
 2.3.3. of our 2019-20 Economic Re{J_ort on Pharmaceutical Wholesalers and S{J_ecialty_
 Distributors.) Alas, neither Prime nor Express Scripts executives were willing to say what
 their new deal might mean for IPA or WBAD.

 Does all of this mean that the Walgreens-Prime relationship will fall apart? Or that Cigna will
 co-invest with private equity in a leveraged buyout of-or acquire the U.S. pharmacy
 business of-WBA?

 Hmm. Perhaps WBA's management will deign to address these topics on tomorrow's
 earnings call-but I doubt it.


 4. The FTC is unlikely to intervene in the arrangement.

 The Federal Trade Commission (FTC) will probably consider the Express Scripts-Prime deal
 to be pro-competitive. That's because the FTC will likely determine that the arrangement
 lowers healthcare costs and will therefore be beneficial to consumers.

 Here's why: The relationship between a PBM and pharmacies or manufacturers can best be
 described as an oliQQP-SOnY.-a market with many sellers but few buyers. Pharmacies and
 manufacturers are not really customers of a PBM in the context of the drug supply chain.



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 They are sellers of goods (manufacturers) or dispensing services (pharmacies) that a PBM
 use to create its benefit management service.

 For context, you may want to revisit the FTC's decision in the Express Scripts-Medco Health
 Solutions merger. I reviewed it in 2012's ESRX-MHS: Analysis of the FTC Decision.

 What's more, Express Scripts and Prime are collaborating for only three years. If the FTC
 challenged the arrangement, the companies would argue that the collaboration could be
 unwound if any anti-competitive issues emerged. Therefore, they would argue that the
 appropriate remedy will be to evaluate the marketplace results rather than block the market's
 evolution.

 I know that many readers will be disappointed with my take. Feel free to leave your own
 thoughts in the comments below.


 WHAT'S NEXT?

 Can Prime remain independent?

 The Express Scripts deals preserves the company's options and flexibility. However, it also
 creates a logical pathway for being acquired or absorbed into Cigna.

 Today, Prime operates as a pass-through PBM for the 18 Blue Cross and Blue Shield health
 plans that have ownership stakes in the business. Prime also provides PBM services for five
 additional plans and direct employer groups. It handles benefits for more than 28 million
 people. Prime's management believes that the Express Scripts deal will allow it to become
 more competitive and therefore add more customers.

 Express Scripts also services many Blues plans-and presumably also seeks new business.

 When asked about potential conflicts over new customers, Express Scripts CEO Tim
 Wentworth told me that his company would be "biased toward helping Prime win business
 with new Blues plans." This sentiment is consistent with the nature of the services agreement
 with Prime.

 I suspect that we will look back on the Prime's strategic shift as another move toward vertical
 consolidation and the disappearance of the PBM industry as we have known it. Underway,
 the PBM endgame is.




                                                                                                   6/6
